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              Composite Exhibit “1”
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                           yonder_1234
                             aka Adela
                    (Defendant Number 15)
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Lirhan Mizrahi

From:                                Lirhan Mizrahi
Sent:                                Monday, February 5, 2024 2:27 PM
To:                                  rosemaryeortega@outlook.com
Subject:                             Revised: Re: Chanel, Inc v. sweetbluebag, et al., Case No .: 23-cv-20242-Altman (USDC
                                     S.D. Fla.)



Hello,

Thank you for your e-mail.

We will provide your information to our client.

Please note your account has been restrained as authorized by the Sealed Order Granting Ex Parte Application
For Entry Of Temporary Restraining Order (the “Temporary Restraining Order”) issued by the Court on
January 25, 2024. All documents filed in this matter, including the documentary evidence demonstrating each
Defendant's infringement of Plaintiff(s) rights can be found posted at:
https://servingnotice.com/ch4Rl3t/index.html.

You have the right to file an Answer with the Court in response to Plaintiff’s claims.

A hearing on Plaintiff’s Motion for Entry of a Preliminary Injunction will be held on February 7, 2024, at
3:00 PM. Please be advised that failure to appear at the hearing may result in the imposition of a
preliminary injunction against you pursuant to 15 U.S.C. § 1116(d), Rule 65, Fed. R. Civ. P., The All
Writs Act, 28 U.S.C. § 1651(a), and this Court’s inherent authority.

The case information for this matter is as follows: this case is pending before the United States District Court
for the Southern District of Florida. The case name is CHANEL, INC., v. SWEETBLUEBAG, et al., and the
case number is 24-CV-20242-ALTMAN/BECERRA. As required, please file any response or objection you
may have directly with the Court.

Kind regards,
Lirhan
________________________
Lirhan Mizrahi
STEPHEN M. GAFFIGAN, P.A.
401 East Las Olas Boulevard
Suite 130-453
Ft. Lauderdale, Florida 33301
Telephone: (954) 767-4819
E-mail: lirhan@smgpa.cloud

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occur only with manually-affixed original signatures on original documents.

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Thank you.




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